           Case 7:24-cv-08220-PMH                      Document 8             Filed 11/15/24             Page 1 of 1




                                                     November 15, 2024

FILED VIA ECF
Judge Philip M. Halpern
The Hon. Charles L. Brieant Jr.
Federal Building and United States Courthouse
300 Quarropas St.
White Plains, NY 10601-4150

                             Re: Frank Pompilio v. Boar's Head Provisions Co., Inc.,
                                      Index No. 7:24-cv-08220 (S.D.N.Y.)

Your Honor:

        We represent Plaintiff in the above captioned matter. We write, along with counsel for
Plaintiffs in the related matters, 1 to inform the Court that the parties in this action and in the related
matters have agreed in principle upon all material terms for a proposed national class-wide
settlement. Accordingly, Plaintiff requests that the Court terminate all pending deadlines in this
action. With the Court’s permission, Plaintiff intends to file an amended consolidated complaint,
which will include the other related matters within thirty (30) days of the date of this letter, by
December 16, 2024. Plaintiff’s counsel also respectfully requests permission to file a Motion for
Preliminary Approval of Class Action Settlement and Class Certification within sixty (60) days
from the date of this letter, by January 14, 2024. Plaintiff’s counsel has spoken with Defendant’s
counsel and Defendant agrees with Plaintiff’s requests.

          Please kindly advise should Your Honor have any further questions.

                                                    Very truly yours,

                                         SULTZER & LIPARI, PLLC




                                                      Jason P. Sultzer


1
 The related matters include:
Rita Torres v. Boar's Head Provisions Co., Inc., 1:24-cv-05405 (E.D.N.Y.)
Samantha Chuskas v. Boar's Head Provisions Co., Inc., 1:24-cv-07343 (N.D. Ill.)
Sheryl Gatoff v. Boar's Head Provisions Co., Inc., 8:24-cv-01868 (C.D. Cal.)
Robby Harper v. Boar's Head Provisions Co., Inc 2:24-cv-02910 (E.D. Cal.)


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